  Case 1:10-cr-00279-RDA Document 19 Filed 07/29/10 Page 1 of 2 PageID# 31



                   IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division



UNITED STATES OF AMERICA

              v.                             )   CRIMINAL NO. 1:10CR279


EUGENE ANTHONY THOMAS,

              Defendant.




                                  CRIMINAL INFORMATION

                                              Count 1




THE UNITED STATES ATTORNEY CHARGES THAT:

       On or about March 20,2010, in Alexandria, Virginia, within the Eastern District of

Virginia, the defendant, EUGENE ANTHONY THOMAS, did knowingly and unlawfully use,

carry, brandish and discharge a firearm, during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, namely: interference with commerce by means

of robbery, in violation of Title 18, United States Code, Section 1951 (a).


(In violation of Title 18, United States Code, Section 924(c)(l)(A)(iii))
   Case 1:10-cr-00279-RDA Document 19 Filed 07/29/10 Page 2 of 2 PageID# 32




                                              Count 2



THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:



       On or about April 10,2010, in Arlington County, Virginia, within the Eastern District of


Virginia, the defendant, EUGENE ANTHONY THOMAS, did knowingly and unlawfully use,


carry and brandish a firearm, during and in relation to a crime of violence for which he may be


prosecuted in a court of the United States, namely: interference with commerce by means of


robbery, in violation of Title 18, United States Code, Section 1951 (a).


(In violation of Title 18, United States Code, Section 924(c)(l)(A)(ii))




                                              Respectfully submitted,



                                              Neil H. MacBride

                                              United States Attorney




                                             (Jonathan L. Fahey
                                              Assistant United States Attorney
